                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

IN RE:                                                )
                                                      )       Case No.: 3:10-bk-01333
DAINON TARQUINIUS SIDNEY                              )       Chapter 13
                                                      )       Judge Harrison
      Debtor.                                         )
____________________________________                  )
                                                      )
COMMUNITY FIRST BANK & TRUST,                         )
                                                      )
         Movant,                                      )
                                                      )
                                                      )
DAINON TARQUINIUS SIDNEY,                             )
and HENRY EDWARD HILDEBRAND, III,                     )
Chapter 13 Trustee                                    )
                                                      )
         Respondents.                                 )

                         MOTION FOR RELIEF FROM THE STAY

         Community First Bank & Trust, (hereinafter "Movant"), by and through its attorneys,

respectfully requests that the Court grant it relief from the automatic stay provisions of 11 U.S.C. §

362 and abandonment pursuant to 11 U.S.C. § 554(b). In support of this Motion, the Movant states

as follows:

         1.    Dainon Tarquinius Sidney (hereinafter the “Debtor”) commenced this bankruptcy

case by filing a Petition under Chapter 13 of the U.S. Bankruptcy Code in this Court on February 10,

2010.

         2.    Movant is a secured creditor of Debtor in the amount of $490,666.88, which

represents the amounts owed under a Note dated February 7, 2008 of Daymar Homes, Inc. (the

“Note”), guaranteed by Debtor and secured by a grant by Debtor pursuant to a February 7, 2008

Commercial Pledge Agreement granting Movant a security interest in certain shares of stock, more

particularly described as 1,000 Shares of Community First Bank & Trust, Certificate # 7660 and

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1,667 Shares of Community First Bank & Trust, Certificate # 8027 (the “Collateral”). A copy of the

February 7, 2008 Commercial Pledge Agreement is attached as Exhibit 1.

         3.     In his confirmed Chapter 13 Plan, Debtor does not propose to pay for the Collateral.

         4.     Movant believes that the value of the Collateral is less than the amounts owed under

the Note, and Movant believes that the value is approximately $8.50 a share.

         5.     Movant has a lien interest in the Collateral, which is not being adequately protected

due to the Debtor’s continuing failure to make payments to Movant. Cause exists for granting

Movant relief from the automatic stay, including the lack of adequate protection for Movant’s

interest in the Property pursuant to 11 U.S.C. § 362(d)(1).

         6.     The Debtor has no equity in the Collateral, and Movant alleges that the Collateral is

burdensome and of inconsequential value to the Bankruptcy Estate and that Movant is entitled to

have the Trustee abandon his interest in the Collateral pursuant to 11 U.S.C. § 554(b).

         7.     Movant is entitled to relief from the stay of 11 U.S.C. § 362 because Movant is not

receiving payment of its debt, and Movant’s lien interest will be irreparably harmed by the

continuation of such stay. Movant requests a surrender of the Collateral to it, so that it can exercise

its lien creditor rights as to the Collateral pursuant to applicable state law.

         8.     Movant additionally requests that the provisions of Fed. R. Bankr. P. 4001(a)(3) be

waived and that Movant be allowed to immediately enforce any Order entered granting it relief from

the stay.

         WHEREFORE, Movant requests the entry of an Order granting Movant relief from the

automatic stay provisions of 11 U.S.C. § 362 and abandonment pursuant to 11 U.S.C. § 554(b) to

permit Movant to proceed with the enforcement of its judgment lien interest in the Property pursuant

to applicable state law, and for such other and further relief to which Movant may be justly entitled.




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                                              Respectfully submitted,

                                              BONE McALLESTER NORTON PLLC


                                              /s/ David M. Anthony
                                              David M. Anthony (TN Reg. No. 19951)
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                                              Attorneys for Movant

                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and exact copy of the foregoing has been served
via electronic mail/ECF and/or United States Mail, first class, postage prepaid to the following
persons:

         Dainon Tarquinius Sidney
         605 Lakemeade Pt.
         Old Hickory, TN 37138-2588

         Edgar M. Rothschild, III
         Mary Elizabeth Ausbrooks
         Rothschild & Ausbrooks
         1222 16th Avenue South, Suite 12
         Nashville, TN 37212-2926

         Henry Edward Hildebrand, III
         P.O. Box 190664
         Nashville, TN 37219-0664

         U.S. Trustee
         701 Broadway, Suite 318
         Nashville, TN 37203

this 2nd day of September, 2011.

                                                     /s/ David M. Anthony
                                                     David M. Anthony



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